    Case 1:20-cv-00028-JRH-BKE Document 8 Filed 07/01/20 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION


                                               *
LATARSHA WHITE,
                                               *



         Plaintiff,
                                               ■k


              V.                               *                       CV   120-028
                                               'k


                                               •k
NATIONWIDE RECOVERY SERVICE,
                                               k
INC. ,
                                               kr


         Defendant.                            *



                                         ORDER




         Before    the    Court     is   the        Parties'    stipulation     of     dismissal

with prejudice.             {Doc.    7. )      Plaintiff        and Defendant         consent   to

dismissal;        thus,   dismissal is proper under Federal Rule of Civil

Procedure         41(a) (1) (A) (ii) .               IT   IS    THEREFORE      ORDERED      that

Plaintiff's        claims    are    DISMISSED WITH             PREJUDICE.       The     Clerk   is

directed to close this case.                   Each party shall bear its own costs

and attorney's fees.


         ORDER ENTERED at Augusta, Georgia this /^^day of JJ. ,
2020.




                                                          J.   RArN^MT HALL/^ CHIEF JUDGE
                                                          UNITED^TATES DISTRICT COURT
                                                          SeOTliieRN   DISTRICT   OF    GEORGIA
